       Case 8:05-cr-00530-JSM-E_J Document 445 Filed 11/17/06 Page 1 of 8 PageID 1248
A 0 245B (Rev 06105) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:05-cr-530-T-30EA.l
                                                               USM NUMBER: 48372-018
vs .


GIOVANNY CABALLERO
                                                               Defendant's Attorney: Mark O'Brien, cja.

THE DEFENDANT:

& pleaded gudty to count(s) ONE of the Indictment.
- pleaded nolo contendere co count(s) whlch was accepted by the court
- was found gu~ltyon count(s) after a plea of not guilty.


TITLE & SECTION                    NATURE OF OFFENSE                            OFFENSE ENDED

                                   Conspiracy to Possess with the Intent to     December 15, 2005
                                   Distribute and Distribution of 100 or
                                   more Marijuana Plants


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilly on count($
- Count(s) (is)(are) dism~ssedon the motion of the Un~cedStates.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district wlth~o30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by t h ~ Judgment
                                                                                                                     s        are fully
paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any n~ater~al     change m economic
cmumstances.


                                                                                Date of Imposition of Sentence. November 16, 2006




                                                                                DATE: ~ o v e m b e r2006
                                                                                                      ,
        Case 8:05-cr-00530-JSM-E_J Document 445 Filed 11/17/06 Page 2 of 8 PageID 1249
A 0 245D (Rev 06/05) Sheet 2 - Iluprisonment (Judgment in a Csiinillrrl Case)
Defendant:          GIOVANNY CABALLERO                                                                      Jurlgnlent - Page 2 of (,
Case No. :          8:05-cr-530-T-30EAJ



         After co~isidcringthe advisory sente~icingguidelines arid dl of t h e factors irlentiticd in Title 18 I:.S.C. sfj
3553(a)(1)-(71, tlic court tinds t h a t t h e sentence iinl~osctlis sufficient, but not greater tliau necessary, to coniply with
tlie statutory purposes ot' sentencing.


         T h e defendant is hereby committed t o t h e custody of tlie United States Bureau of Prisons to be iniprisoned for
a total t e r m of TIIIRTY-SEVEN (37) MONTI-IS a s to Count O n e of t h e I~itlictnlent.




X The court makes the following reco~~mendations
                                              to the Bureau of Prisons: The defendant shall be placed at FCI
Estill (SC), if possible.


); The dctndant is rrmandcd to the custodj of [lie United States h4;irshal.
- The defcndan~shall susrttndcs to the United States Marshal for this district.

           - at - a.m.1p.m. on -.
           -as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.ni. 011 -.
           - ss notificd hy the U1lirt.d States h h s h a l .
           - as notified by the PI-ubation or Pretrial Services Oftice.




                                                                      RETURN

           I 1 1 : esccuted
                   ~        this judgment as follows:




           Defendanr delivered on                                                 to

-     at                                                                          , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                          By:
                                                                                         Deputy United States Marshal
        Case 8:05-cr-00530-JSM-E_J Document 445 Filed 11/17/06 Page 3 of 8 PageID 1250
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)
Dc fendant:         GIOVANNY CABALLERO                                                                             Judgment - Page 3 of 6
Case KO.:           8 :05-cr-53O-T-30EA.T
                                                           SUPERVISED RELEASE

       Upon release from hprisomlent, the clefenclant shall be on supervised release for a term of FIVE (5) YEARS
as to Count One of the Indictmeat.
        The defendant must report to the probation office in the district to which the defendant is released \vithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not colnini~mother feclcral, state, or local crime. The cleferldn~lrshall not unla\vf~illypossess a co~llrolledsubstance.
The defendant shall refrain from any unlawful use of a conmdled substance. The dcf'endant shall submit 10 one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.


         The defendant shall not possess a firearm, destructive device, or any other dangerous iveapon.

         The defendant shall cooperate in the collection ol' DNA as directed by the probation ol'ficcr.


           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pap in xcordancu with
           the Schedule of Payments sheet of this judgment.

           The defendant nlust comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                             STAIKDARD CONDITIONS OF SUPERVISION
           tlic defcndant sliall no( leave the judicial district without tlie permission of tlic court or probat~onofficcr;

           the defendant shall report to the probation officer and shall submit a truthful and complctc written report within the first five days of cach
           month;

           the defendant shall answer truthfully all inquiries by h e probation oficcr and follow thc instructions of rhe probation off~ccr:

           the c1c.t-end~ntsli~llsupport his or her dependents and niect other family responsibililies;

           the defendant slidl \\.ark regularly at a lawful occupation, unlcss excuscd by tlie pl-ob;lt~onofficer ior schooling, training. or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from escessi\.e use of alcohol and shall not purcli~ise,possess, use, distribute, or administer any controllcd
           substance or any paraphernalia related to any controlled substances, exccpt as prcscribcd by a physician;

           lhc dcfendmt sIia11 not rrcquent places where controlled substances are illegally sold. used: distributed: or administered;

           [he defendant shall nor rtsrociate wit11 any persons cngazcd in criminal activity and s l i ~ ~not
                                                                                                           l l associate with any pcrson convicted ol'a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or- elsewhere and shall permit contiscation of any
           contraband obscrved in plain view of the probation officer;

           thc dcfmdwt shall nolii-y the probation officer within seventy-two hours of being arrested or questioned by a 1w c.nforcemcnt officer;

           the defendant shall not cntcr into any agreement to act as an infonncr or 3 specla1 :Igcnt of a la\\. znfol-cenienl agcnc) without thc
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks h a t may be occasioned by tlie defendanl's cr~minairccord
           or personal history or characteristics and shall pcrmit the probation officer to ~iialccsuch notifications and to confirm the defendant's
           compliance \villi such notification rcquircnient.
       Case 8:05-cr-00530-JSM-E_J Document 445 Filed 11/17/06 Page 4 of 8 PageID 1251
'40 245B (Rev. 06/05) Shrrl 3C - Supervised Iielease (Judgliicr~till a Criminal Case)

Defendant:          GIOVANNY CABALLERO                                                               Judgment - Page 4 of
Case No. :          8:05-cr-530-T-30EAJ
                                           SPECIAL CONDITIONS OF SUPERVISION

          .I -he defenclant shall also comply with the following ndditional condirions 01' supe~*viscd~ ~ l c a s e :

          The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andfor inpatient) for treatment
          of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use
          or abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
          amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatinent Services.
          The clefe~ldantshall participate as directed in :I program of mental health treatment approved b y thc Probation Ofl'lcer.
          Further, the dekndnnt shall be required to contribute to the cosls of sen ices for such tseatmttnl not to exceed nn a~nount
          determined rc:lsonable to by Probation Officer based on ability to pay or availnbility of third parry payment and in
          c o n f o r ~ x m ewith the Probatio~lOffice's Sliding Scale for hlen~alHealth Tre:irment Services.
          The defendant shall cooperate in the collection of' DNA as directed by the probation officer.

          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
          drug testing not to exceed 104 tests per year.
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A 0 245B (Rev 06/05) Sheet 5 - Cri~ninalhtlonetary Penalties (Judgment in a Criminnl Case)

Defendant:         GIOVANNY CABALLERO                                                                 Judgment - Page 5 of 6
Cnsc yo.:          S:05-cr-530-T-30EAJ

                                           Cl<IhlINAL MONETARY PESALTI ES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                            -
                                                                  Fine                       Total Restitution

         Totals:            $100.00                               Waived                     N/ A


-        The determination of restitution is deferred until          .     An At~wtrcledJrldgr~zeritirl a Ci-i~lrirrcrlCuse ( A 0 245C) will
         be entered after such determination.

-        The defendant must make restitution (including community restitution) to the following payees in thc amount listed
         below.
         If the defendant ~iiakcsa part in1 payment, each payee shall receive an approxi~natel y proportioned paj-men[, urilcss
         specified otherwise in the priority order or percentage pa ment coluinn bclow. tlowevcr, pursuant to 18 U . S.C. 5
         3664(i). all non-federal victims must be paid before the dnited States.


Name of Payee                                  Total Loss*                 Restitution Ortlercd                 Priority or Percentage




                            Totals:            -
                                               $                           L

-         Restitution amount osdcred pursu;lnt to plea agreement $
-         The defendant must pay interest on a fine or restitution of more than $2,500. unless the res~itutionor fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. Q 3612(1). All of the payment options on Shect
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. Q 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        -          the interest requirement is waived for thc - fine        - restitution.

        -          [he intcrcsl requirement for the - fine - restitution is nlodifiud as i'ollo\vs:


* Findings for the total amount of losses are required under Cha ters 109,4, 110, 1 lOA, and 113A of Title 18 for the offenses
committed on or after Septenlber 13, 1994. but before April 23, I $96.
        Case 8:05-cr-00530-JSM-E_J Document 445 Filed 11/17/06 Page 6 of 8 PageID 1253
A 0 Z l S B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:         GIOVANNY CABALLERO                                                                Judginent - Page 6of 6
Case No. :         8:05-cr-530-T-30EAJ


                                                    SCHEDULE OF PA'ICMENTS



Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties are due as follows:

A.         X       Lump sum lxiyment o f $ 100.00 due ilnmediately. balance duc
                             - not later than                     , or

                             - in accordance - C , - D,- E or - F below: or
B.       -         Payment to begin immediately (may be combined with -C. -D. or -F below); or
                   Payment in equal                  (e .g., weekly, monthly, quarterly) install~nentsof $            over a
                   period of'         (e .g., months or years), to conmence              days (e.g.. 30 or 60 days) after the
                   dare of this judgment: or
D.       -         Payment in equal                 (e.g.. weekly, monthly, quarterly) installn~entsof $              over a
                   period of
                                , (e.g., inonths or years) to commence                     (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -         Payment during the term of supervised release will commence within                            (s.g., 30 or
                   60 days) after release from i~nprisonnlent. The court will set the payment plan based on an assessment of
                   the defenc1an~'sability to pay at that time, or
F.       -         Special i~istructionsregarding the paylnent of criminal monetary peilalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
 rnalties is due during imprisonment. All criminal monetary penalties. except those payments made through the Federal
Eureau of Prisons' Inmate Fillancia1 Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any crimi~lallnonetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:

X
-         The defendant sliall forfeit the clcfendant's i~lterestin the following property to the U ilited States:
        The Court orders that the defendant forfeit to the United States iininediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the )ossession or control ot the defendant or the
                                                                                       t
defendant's nominees. The Court makes final the Preliminary Order of -orEeiture [Dkt. 3791 and makes it a part of this
judgment.

Payments ~11311be applied i n the following order: (1) assessment. (2) restitution principal, (3) restitution interest, (4) fine principal.
(5) tine interest, (6) cor:ununity restitution, (7) penalties, and (8) costs, inclutling cosl of prosecution and court costs.
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     Case 8:05-cr-00530-JSM-EAJ Document 379  Filed 10/23/2006 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

     UNITED STATES OF AMERICA,

            Plaintiff,

     v.                                               Case No. 8:05-cr-530-T-30EAJ

     GIOVANNY CABALLERO,

            Defendant.


                            FORFEITURE MONEY JUDGMENT

            THIS CAUSE comes before the court upon the filing of the Motion (Dkt. #368)

     of the United States of America for a personal money judgment in the amount of

     $100,000.00 in United States currency, which, upon entry, shall become a final

     order of forfeiture as to defendant Giovanny Caballero.

            The court hereby finds that $100,000.00 in United States currency is the

     amount of funds obtained by the defendant as a result of his participation in the

     conspiracy as charged in Count One of the Indictment for which defendant pled

     guilty to a lesser included marijuana quantity. Accordingly, it is hereby

            ORDERED, ADJUDGED AND DECREED that for good cause shown, said

      Motion (Dkt. #368) of the United States is hereby GRANTED.

            It is FURTHER ORDERED that pursuant to the provisions 21 U.S.C. 5 853,

     and Fed. R. Crim. P. 32.2(b)(2), defendant Giovanny Caballero is personally liable

     for a forfeiture money judgment in the amount of $100,000.00 in United States

     currency, which represents the amount of proceeds the defendant obtained as a
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   1

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       result of his participation in the conspiracy as charged in Count One of the

       Indictment for which defendant pled guilty to a lesser included marijuana quantity.

              IT IS FURTHER ORDERED that the United States may seek forfeiture of any

       of the defendant's property up to the total value of the $100,000.00 money judgment

       as substitute assets in satisfaction of the judgment, pursuant to the provisions of 21

       U.S.C. § 853(p).

              The court retains jurisdiction to enter any further orders necessary for the

       forfeiture and disposition of any property, belonging to the defendant, that the United

       States is entitled to seek as substitute assets (up to the amount of the forfeiture

        money judgment), and to entertain any third party claims that may be asserted in

       these proceedings.

              DONE and ORDERED in Tampa, Florida on October 23, 2006.



                                                                                          -
                                                 TXITED STATES DISTRICT JVDGE

        Copies to:
        Adelaide G. Few, AUSA
        Counsel of Record




                                             Page 2 of 2.
